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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE UE?EY§I' AHEQ:Lg
wEsTERN DIVIsIoN

 

POWER s TELEPHONE sUPPLY
coMPANY, INc.,

 

Plaintiff,

v. No. 03-2217 Ml/v
sUNTRUsT BANKS, INc., sUNTRUsT
BANK, sUNTRUsT BANK~ATLANTA,
SUNTRUST BANK-NASHVILLE, N.A.,
sUNTRUsT EQUITABLE sEcURITIEs
coRPoRATIoN, and

sUNTRUsT cAPITAL MARKETS, INc.,

vvvvvvv\_¢vvvvvv\_¢

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF'S MOTION TO
DISMISS DEFENDANTS’ COUNTERCLAIM FOR INDEMNIFICATION,
and
ORDER GRANTING DEFENDANTS' MOTION FOR SUMMARY JUDGMENT REGARDING
DEFENDANTS’ COUNTERCLAIM FOR INDEMNIFICATION

 

Before the Court is Plaintiff's Motion to Dismiss
Defendants’ Counterclaim for indemnification, filed February 2,
2005, and supplemented on February 4, 2005. Defendants responded
in an opposition received on March 4, 2005. Plaintiff filed s
reply to Defendants' response on April 15, 2005. For the
following reasons, Plaintiff's Motion is GRANTED in part and
DENIED in part.

Also before the Court is Defendants’ Motion for Summary

Judgment and In Opposition to Plaintiff’s Motion for Partial

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Summary Judgment, filed on January lB, 2005.l Plaintiff
responded in an opposition received on March 4, 2005. A reply
was received from Defendants on March 28, 2005. For the
following reasons, Defendants’ motion is GRANTED.

I. BACKGROUND

This action arises out of a financial transaction between
the parties involving interest rate swap agreements. Detailed
discussions of the facts underlying this case are contained in
the Court’s December 27, 2004, Dismissal Order (Order Granting in
Part and Denying in Part Defs.' Mot. to Dismiss of Dec. 27, 2004
(Docket No. 236)) and the Court's May lO, 2005, Summary Judgment
Order (Order Granting Defs.’ Mot. for Summ. J.).

The instant motions relate to indemnification provisions
contained within the various agreements between the parties.
Defendants contend that these indemnification provisions require
Plaintiff to compensate them for their reasonable costs and
attorney’s fees related to defending this action. Plaintiff
contends that Defendants are not entitled to indemnification

under the terms of the relevant agreements.

 

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The Court granted Defendants’ motion for summary judgment
regarding the claims in Plaintiff's Third Amended Complaint in
its May lO, 2005, Order Granting Defendants’ Motion for Summary
Judgment. In that Order, the Court noted that the portion of
Defendants' motion that asserted that summary judgment was proper
regarding Defendants' Counterclaim for indemnification, along
with Plaintiff’s motion to dismiss that Counterclaim, would be
decided in a separate order.

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II. STANDARDS OF REVIEW

Plaintiff moves to dismiss Defendants’ Counterclaim for
indemnification “for failure to state a claim upon which relief
can be granted” under Federal Rule of Civil Procedure lZ(b)(S).
When considering a Rule lZ{b)(6) motion, a court must treat all
of the well-pleaded allegations of the complaint as true. Saylor
v. Parker Seal Co., 975 F.Zd 252, 254 (6th Cir. 1992).
Furthermore, the court must construe all of the allegations in
the light most favorable to the non-moving party. Scheuer v.
Rhodes, 4l6 U.S. 232, 236 (1974). “A court may dismiss a [claim
under Rule l2(b)(6)] only if it is clear that no relief could be
granted under any set of facts that could be proved consistent
with the allegations.” Hishon v. Kino & Spaldino, 467 U.S. 69, 73
{1984).

Conversely, Defendants have moved for summary judgment
regarding their Counterclaim for indemnification under Federal
Rule of Civil Procedure 56. Under Rule 56(c), summary judgment
is proper “if . . . there is no genuine issue as to any material
fact and . . . the moving party is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(c); see also CeloteX Corp. v.
Catrett, 477 U.S. 3l7, 322 (1986). The Supreme Court has
explained that the standard for determining whether summary
judgment is appropriate is “whether the evidence presents a

sufficient disagreement to require submission to a jury or

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whether it is so one-sided that one party must prevail as a
matter of law.” Anderson v. Libertv Lobbv, lnc., 477 U.S. 242,
251-52 (1989).

So long as the movant has met its initial burden of
“demonstrat[ing] the absence of a genuine issue of material
fact,” Celotex, 477 U.S. at 323, and the nonmoving party is
unable to make such a showing, summary judgment is appropriate.
Emmons v. McLaughlin, 874 F.2d 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, “the evidence as well
as all inferences drawn therefrom must be read in a light most
favorable to the party opposing the motion.” Kochins v.
Linden-Alimak, Inc., 799 F.2d l128, 1133 (6th Cir. 1986); see
also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587 (1986). “[A]t the summary judgment stage the judge's
function is not himself to weigh the evidence and determine the
truth of the matter but to determine whether there is a genuine
issue for trial.” Anderson, 477 U.S. at 249.

III. ANALYSIS

With respect to each agreement for which Defendants claim a
right to indemnification, the Court will address whether
Defendants’ Counterclaim should be dismissed, and if not, whether
Defendants are entitled to summary judgment regarding their

Counterclaim. The Court will then separately address which

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Defendant entities are entitled to enforce the respective
indemnification provisions.

A. Interpretation of Indemnification Agreements

“[C]osts and attorneys' fees are recoverable under an
express indemnity contract if the language of the agreement is
broad enough to cover such expenditures.” Pullman Standard, Inc.
v. Abex Corp., 693 S.W.Zd 336, 338 (Tenn. 1985). lndemnification
provisions are “subject to the normal canons of contract
construction. Accordingly, courts must construe these agreements
as written ....” Boiler Supplv Co. v. Lunn Real Estate Invs., No.
OlAOl-9605-CH-00246, l998 Tenn. App. LEXIS 430 at *8 (Tenn. Ct.
App. July l, l998)(citations omitted).

“The central tenet of contract construction is that the
intent of the contracting parties at the time of executing the
agreement should govern.” Planters Gin Co. v. Federal Comoress &
Warehouse Co., 78 S.W.3d 885, 890 (Tenn. 2002)(citation omitted).
“The intent of the parties is presumed to be that specifically
expressed in the body of the contract.” ld; In construing a
contract, a Court looks to “ascertain the meaning and intent of
the parties as expressed in the language used and to give effect
to such intent if it does not conflict with any rule of law, good
morals, or public policy.” ;d; (citation omitted).

When the terms of a contract are unambiguous, “[i]t is the

Court's duty to enforce contracts according to their plain

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terms.” Bob Pearsall Motors, Inc. v. Regal Chrvsler-Plvmouth,
lng;, 52l S.W.Zd 578, 580 (Tenn. 1975) (citations omitted).
Under Tennessee law, “a contract must be enforced according to
the ordinary meaning of its words unless both parties understand
and agree at the time of the contract that its meaning is
otherwise.” Moore v. Moore, 603 S.W.Zd 736,r 739 (Tenn. Ct. App.
1980) (citing Hardwick v. American Can Co., 88 S.W. 797 (Tenn.
l905)).

Upon review of the record and the parties' submissions, the
Court finds that the various contract terms to which Defendants
point in asserting their right to indemnification are
unambiguous. Accordingly, the Court will construe them according
to their terms.

B. The Agreements’ Indemnification Provisions

The Court will address each of the agreements under which
Defendants claim a right to indemnification in turn.

1. The November 16, 1998, Restated Credit Agreement,
the November 16, 1998, Restated Security Agreement, and
the 2000 Second Amended and Restated Credit Agreement

Defendants first claim a right to indemnification pursuant
to the November l6, 1998, Restated Credit Agreement, the November
l6, 1998, Restated Security Agreement, and the 2000 Second

Amended and Restated Credit Agreement.2

 

2 The indemnification provisions in §§ 10.4(i) and lO.4(iii)
of the 2000 Second Amended and Restated Credit Agreement, (Defs.'
Ans. and Counterclaim, Ex. B), are identical to the

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a. Section 10.4(iii)
Defendants claim a right to indemnification under Section
10.4(iii) of the November l6, 1998, Restated Security Agreement.
Section l0.4(iii) provides that the Borrower shall:

[l]ndemnify the Agent and each Lender, and their
respective officers, directors, employees,
representatives and agents from, and hold each of them
harmless against, any and all costs, losses,
liabilities, claims, damages or expenses incurred by
any of them (whether or not any of them is designated a
party thereto) (an “Indemnitee”) arising out of or by
reason of any investigation, litigation or other
proceeding related to any actual or proposed use of the
proceeds of any of the Loans or any Consolidated
Company entering into and performing of the Agreement,
the Notes, or the other Credit Documents, including,
without limitation, the reasonable fees actually
incurred and disbursements of counsel incurred in
connection with any such investigation, litigation or
other proceeding, provided, however, Borrower shall not
be obligated to indemnify, any Indemnitee for any of
the foregoing arising out of such Indemnitee’s gross
negligence or willful misconduct

(Defs.' Ans. and Counterclaim, Ex. B at 76.)3 Plaintiff contends
that the instant litigation is not related to any dispute over
the “actual or proposed use of the proceeds of any of the Loans”
or “any Consolidated Company entering into and performing of the
Agreement, the Notes, or the other Credit Documents.” Defendants

contend that the instant litigation relates to Plaintiff's

 

indemnification provisions in Sections 10.4(i) and l0.4(iii) of
the November 16, l998, Restated Credit Agreement. Accordingly,
the Court's analysis of those provisions applies identically to
both Agreements.

3 Plaintiff concedes that the “Borrower” refers to
Plaintiff. (Pl.’s Mot. to Dism. Defs.’ Counterclaim at 7.)

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“entering into and performing” the Swap Agreements and the
Restated Security Agreement because Plaintiff’s allegations in
the Third Amended Complaint relate to whether Defendants
improperly advised or induced Plaintiff to enter into the
agreements at issue.cl

The Court finds that the plain language of Section 10.4(iii)
is broad enough to encompass Defendants' contention that they are
entitled to indemnification for costs arising out of litigation
related to Plaintiff's “entering into and performing of the
Agreement, the Notes, or the other Credit Documents.” §ee Pullman
Standard, 693 S.W.Zd at 338. Although Plaintiff's suit does not
seek recission of the relevant agreements, the claims in
Plaintiff’s Third Amended Complaint all flow from Plaintiff’s
allegation that Defendants improperly advised Plaintiff to enter
into the various agreements for which Defendants seek
indemnification under Section 10.4(iii). Accordingly,

Plaintiff’s motion to dismiss Defendants' Counterclaim with

 

4 Specifically, Defendants assert that Plaintiff contends
that it was fraudulently induced to enter into the Swap
Agreements and that the cross-collateralization clause in the
Restated Security Agreement is illegal, violates anti-tying
provisions and Defendants purported fiduciary duties. Defendants
also assert that Plaintiff contends that Defendants failed to
explain the Swap Agreements and made inappropriate
recommendations, causing Plaintiff to enter into the Commitment
Letter, which in turn forced it to acquire the Swap Agreements,
which became subject to the cross-collateralization provisions.
(Defs.' Mem. in Opp. to Pl.’s Mot. to Dismiss Defs.’ Counterclaim
at l2.)

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respect to Section 10.4(iii) of the November l6, l998, Restated
Credit Agreement is DENIED.5 Because the relevant provisions are
identical, Plaintiff’s motion to dismiss Defendants’ Counterclaim
with respect to Section 10.4(iii) of the 2000 Second Amended and
Restated Credit Agreement is likewise DENIED.

The Court further finds that no genuine issues of material
fact exist and that Defendants are entitled to judgment as a
matter of law regarding their Counterclaim for indemnification
pursuant to Section 10.4(iii) of the November l6, 1998, Restated
Credit Agreement and Section 10.4(iii) of the 2000 Second Amended
and Restated Credit Agreement. As noted above, the Court has
found that Plaintiff’s claims in its Third Amended Complaint flow
from Plaintiff’s allegation that Defendants improperly advised
Plaintiff to enter into the various agreements for which
Defendants seek indemnification under Section lO.4(iii). The
Court has further found that such claims fall within the scope of
the indemnification provision in Section 10.4(iii). Accordingly,

Defendants’ motion for summary judgment is GRANTED regarding

 

5 Although Plaintiff contends that any indemnification
obligation ceased when Plaintiff satisfied its obligations under
the Agreement, Section lO.lO(b) of the November l6, l998,
Restated Credit Agreement, entitled “Effectiveness; Survival,”
provides that Plaintiff’s obligations under Section 10.4 “survive
the payment in full of the Notes after the Maturity Date for a
period not to exceed five (5) years thereafter.” Accordingly,
the plain terms of the agreement state that any obligation to
indemnify Defendants exists regardless of whether Plaintiff paid
in full its obligations under the Agreements.

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Defendants’ claim for indemnification under Section l0.4(iii) of
the November l6, 1998, Restated Security Agreement and Section

l0.4(iii) of the 2000 Second Amended and Restated Credit

Agreement.
b. Sections 14(1) and (j)

Defendants also claim a right to indemnification under
Sections l4(l)and (j) of the November 16, 1998, Restated Security
Agreement. Section l4(l) of that agreement provides, in
pertinent part:

Costs. Expenses, and Taxes. Borrower agrees to pay on
demand all reasonable out-of-pocket costs and expenses
of Agent and each of the Lenders (including the
reasonable fees and out-of-pocket expenses of Agent’s
and Lenders’ attorneys, paralegals, accountants,
auditors, and consultants) incurred by Agent and/or the
Lenders in connection with the preparation, execution,
delivery, administration, interpretation, amendment,
waiver or enforcement of this Agreement, or in the
protection of Agent's and/or the Lenders' rights
hereunder (including any suit for declaratory judgment
or interpretation of the provisions hereof and any
bankruptcy, insolvency or condemnation proceedings
involving Borrower or any Collateral). ... Upon Agent’s
request, Borrower shall promptly reimburse Agent for
all amounts reasonably expended, advanced, or incurred
by Agent or any Lender in ... enforc[ing] or
protect[ing] the rights of Agent and/or the Lenders
under this Agreement, or to possess, monitor, prepare
for sale, sell or dispose of any Collateral, including
all court costs, reasonable attorney’s and paralegal's
fees, reasonable fees of auditors and accountants, and
investigation expenses reasonably incurred by Agent
and/or any Lender in connection with any such matters,
and all such amounts shall bear interest [at] the
maximum rate then payable with respect to the
Indebtedness (but not in excess of this maximum rate
permitted by applicable law) until paid in full. All
obligations under this Section shall be part of the

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Indebtedness and shall survive any termination of this
Agreement.

(Defs.’ Ans. and Counterclaim, Ex. B at l6-l7.) Section l4(j) of
the 1998 Restated Security Agreement provides:
No Fiduciary Relationship. Nothing contained herein or
in any related document shall be deemed to create any
partnership, joint venture or other fiduciary
relationship between Agent and Borrower and/or any
Lender and Borrower for any purpose.
(Defs.’ Ans. and Counterclaim, Ex. B at l6.) Plaintiff contends
that it has performed its obligations under the relevant
agreements and that Defendants have not moved to enforce any
rights under the agreements.6 Defendants contend that they now
seek interpretation and enforcement of the provisions of the
Restated Security Agreement, including Section l4(j).

The Court has found that no fiduciary relationship existed
between the parties. However, the Court finds that the plain
language of Section l4(j) does not foreclose Plaintiff from
contending that the parties' conduct created a fiduciary

relationship. Accordingly, Defendants are not entitled to

indemnification under Section l4(j).

 

6 Plaintiff also contends that section 4(d) of the Restated
Security Agreement forecloses indemnification, because that
provision terminates the indemnification requirement at the time
the indebtedness has been paid in full. However the plain
language of Section 4 creates an indemnification obligation that
is independent of, and does not modify, Plaintiff’s obligation in
Section Section l4{l).

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However, the Court finds that the plain language of Section
l4(l) requires Plaintiff to pay on demand all “reasonable out-of-
pocket costs and expenses of Agent and each of the Lenders
(including the reasonable fees and out-of-pocket expenses of
Agent’s and Lenders’ attorneys, paralegals, accountants,
auditors, and consultants) incurred by Agent and/or the Lenders
in connection with the ... interpretation, ... of this
Agreement.” (Defs.' Ans. and Counterclaim, Ex. B at 16-17
(emphasis added).) Defendants may therefore properly assert a
Counterclaim for indemnification under Section l4(l) for costs
incurred in connection with the interpretation of the November
l6, l998, Restated Security Agreement. Accordingly, Plaintiff's
motion to dismiss Defendants’ Counterclaim as it relates to the
November l6, l998, Restated Security Agreement is DENIED.

The Court further finds that no genuine issues of material
fact exist and that Defendants are entitled to judgment as a
matter of law regarding Defendants’ Counterclaim for
indemnification pursuant to Section l4(l) of the November 16,
1998, Restated Security Agreement. Accordingly, Defendants’
motion for summary judgment is GRANTED regarding Defendants’
claim for indemnification pursuant to Section l4(l) of the
November 16, 1998, Restated Security Agreement.

c. Section 10.4(1)

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Defendant also claims a right to indemnification pursuant to

Section 10.4 of the November 16, 1998, Restated Credit Agreement.

That provision, entitled “Payment of Expenses, Etc.,” provides

that:

(Defs.'

Borrower shall:

(i) whether or not the transactions hereby contemplated
are consummated, pay all reasonable, out-of-pocket
costs and expenses of the Agent and Lenders in
connection with the preparation, execution and delivery
of, preservation of rights under, enforcement of, and,
after a Default or Event of Default or, upon the
request of the Borrower, refinancing, renegotiation or
restructuring of, this Agreement and the other Credit
Documents and the documents and instruments referred to
therein, and any amendment, waiver or consent relating
thereto (including, without limitation, the reasonable
fees actually incurred and disbursements of counsel for
the Agent and Lenders), and in the case of enforcement
of this Agreement or any Credit Document after an Event
of Default, all such reasonable, out-of-pocket costs
and expenses {including, without limitation, the
reasonable fees actually incurred and reasonable

disbursements and charges of counsel), for any of the
Lenders;
Ans. and Counterclaim, Ex. A at 76.) Plaintiff contends

that Defendants are not entitled to indemnification under §

10.4(i) because Defendants are not being required to preserve or

enforce their rights under the agreement in this lawsuit.

Defendants contend that they seek through this lawsuit to

enforce,

inter alia, Section 5.3 of the November 16, 1998,

Restated Credit Agreement and Section l4(j) of the November 16,

1998,

Restated Security Agreement.

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Section 5.3 of the Restated Credit Agreement, entitled

“Enforceable Obligations,” provides:
This Agreement has been duly executed and delivered,
and each other Credit Document will be duly executed
and delivered, by the respective Consolidated
Companies, as applicable, and this Agreement
constitutes, and each other Credit Document when
executed and delivered will constitute, legal, valid
and binding obligations of the Consolidated Companies
executing the same, enforceable against such
Consolidated Companies in accordance with their
respective terms.

(Defs.' Ans. and Counterclaim, Ex. A at 43).

Defendants contend that they are entitled to indemnification
under Section 5.3 of the Restated Credit Agreement because
Plaintiff's suit alleging the violation of a fiduciary duty
disaffirms Plaintiff's representation in Section 14{j) of the
Restated Security Agreement. As noted above, however, the plain
language of Section l4(j) does not foreclose Plaintiff from
contending that the parties’ conduct created a fiduciary
relationship. Accordingly, Defendants are not entitled to

indemnification under Section 5.3 of the Restated Credit

Agreement.7

 

l The parties also dispute whether or not a “Default or
Event of Default” triggers a right to indemnification under
Section lO.4(i). However, the plain language of the provision
does not require indemnification upon the occurrence of a
“Default or Event of Default” that does not relate to a
“refinancing, renegotiation, or restructuring of ... this
Agreement or the other Credit Documents.”

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2. The ISDA Master Agreement

Defendants also contend that they are entitled to

indemnification under the ISDA Master Agreement. Section 5 of

that agreement, entitled “Events of Default and Termination

Events,” provides that:

(Third Am.

agreement,

(a)Events of Default. The occurrence at any time with
respect to a party or, if applicable, any Credit
Support Provider of such party or any Specified Entity
of such party of any of the following events
constitutes an event of default (an “Event of Default”)
with respect to such party: -

(iv) Misrepresentation. A representation (other than a
representation under Section 3(e) or (f)) made or
repeated or deemed to have been made or repeated by the
party or any Credit Support Provider of such party in
this Agreement or any Credit Support Document proves to
have been incorrect or misleading in any material
respect when made or repeated or deemed to have been
made or repeated

Compl., Ex. F at PT/8000019.) Section 3 of that
entitled “Representations,” provides that:

Each party represents to the other party (which
representations will be deemed to be repeated by each
party on each date on which a Transaction is entered
into and, in the case of the representations in Section
(3)(f), at all times until the termination of this
Agreement) that: -

(v)Obligations Binding. Its obligations under this
Agreement and any Credit Support Document to which it
is a party constitute its legal, valid and binding
obligations, enforceable in accordance with their
respective terms (subject to applicable bankruptcy,
reorganization, insolvency, moratorium or similar laws
affecting creditors’ rights generally and subject, as
to enforceability, to equitable principles of general
application (regardless of whether enforcement is
sought in a proceeding in equity or at law}).

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(Third Am. Compl., Ex. F at PT/8000017.) Section ll of that

agreement provides that:
A Defaulting Party will, on demand, indemnify and hold
harmless the other party for and against all reasonable
out of pocket expenses, including legal fees and Stamp
Tax, incurred by such other party by reason of the
enforcement and protection of its rights under this
Agreement and any Credit Support Document to which the
Defaulting Party is a part or by reason of the early
termination of any Transaction, including, but not
limited to, costs of collection.

(Third Am. Compl., Ex. F at PT/8000026-27.) Section 5(a)(iii) of

that agreement, entitled “Events of Default and Termination

f

Events,' provides that an “event of default” occurs when a:

[Plarty or such Credit Support Provider disaffirms,
disclaims, repudiates or rejects, in whole or in part,
or challenges the validity of, such Credit Support
Document.

{Third Am. Compl., Ex. F at PT/80000l9).

Defendants first contend that Plaintiff is a defaulting
party under the Master Agreement because Plaintiff has, through
its lawsuit, repudiated the representation in Section l4(j) of
the Restated Security Agreement that the Agreement does not
create any fiduciary relationship between the parties.
Defendants also contend that Plaintiff has breached the above
provisions of the ISDA Master Agreement because Plaintiff has
challenged the validity of the Agreements through its suit.
Plaintiff contends that it has not, through its lawsuit,

disaffirmed, disclaimed, repudiated, rejected or challenged the

validity of the Credit Support Documents.

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As noted above, the plain language of Section l4(j) of the
Restated Security Agreement does not foreclose Plaintiff from
contending that the parties’ conduct created a fiduciary
relationship. Defendants therefore may not seek indemnification
for the purported “enforcement” of either Section l4(j) of the
Restated Security Agreement or Section 5 of the Master Agreement.
Accordingly, Plaintiff’s motion to dismiss Defendants'
Counterclaim as it relates to the ISDA Master Agreement is
GRANTED.

3. The August 31, 2000r Commitment Letter

Defendants also seek indemnification pursuant to the August
3l, 2000, Commitment Letter. Paragraph F of the August 31, 2000
Commitment Letter provides:

l. Indemnification. You further agree to indemnify and
hold harmless SunTrust Equitable Securities and each
Lender (including SunTrustBank) and each director,
officer, employee, affiliate, and agent thereof (each,
in “Indemnified Person”) against, and to reimburse each
lndemnified Person, upon its demand, for any losses,
claims, damages, liabilities or other expenses
(“Losses”) incurred by such indemnified Person insofar
as such Losses arise out of or in any way relate to or
result from this Commitment Letter, the Fee Letter or
the financing contemplated hereby, including, without
limitation, Losses participating in any legal
proceeding relating to any of the foregoing (whether or
not such Indemnified ?erson is a party thereto);
provided that the foregoing shall not apply to any
Losses to the extent that such losses result from the
gross negligence or willful misconduct of such
lndemnified Person. Your obligations under this
paragraph shall remain effective whether or not
definitive financing documentation is expected and
notwithstanding any termination of the Commitment
Letter.

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3. Expenses. In further consideration of the
commitments and undertakings of SunTrust hereunder, and
recognizing that in connection herewith SunTrust will
be incurring certain costs and expenses (including,
without limitation, fees and disbursements or counsel,
and costs and expenses for syndication, due diligence,
transportation, duplicationr mailings, messenger
services, computer, appraisal, audit and insurance),
you hereby agree to pay, or reimburse SunTrust on
demand for, all such reasonable costs and expenses
(whether incurred before or after the date hereof),
regardless of whether any of the transactions
contemplated hereby are consummated. You also agree to
pay all reasonable costs and expenses of SunTrust
(including,r without limitation, fees and disbursements
of counsel) incurred in connection with the enforcement
of any of their rights and remedies hereunder. Your
obligation in respect of costs and expenses shall
survive the expiration or termination of this
Commitment Letter.

(Pl.’s Third Am. Compl., Ex. l at PT/5000209.)

Plaintiff first contends that the Commitment Letter does not

provide a right to indemnification because it was superseded by

the 2000 Credit Agreement. Defendants contend that the

Commitment letter was not superseded by the 2000 Credit Agreement

because Plaintiff has asserted a claim based upon the letter and

that the Commitment Letter was incorporated into the Second

Amended and Restated Credit Agreement.

Section l0.l4 of the Second Amended and Restated Credit

Agreement,

provides:

entitled “Headings Descriptive; Entire Agreement”

The headings of the several sections and subsections of
this Agreement are inserted for convenience only and
shall not in any way affect the meaning or construction
of any provision of this Agreement. This Agreement,

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the other Credit Documents, and the agreements and
documents required to be delivered pursuant to the
terms of this Agreement constitute the entire agreement
among the parties hereto and thereto regarding the
subject matters hereof and thereof and supersede all
prior agreements, representations and understandings
related to such subject matters.

(Defs.’ Ans. and Counterclaim, Ex. B at PT/80002524.) “Credit

Documents” is defined in the Second Amended and Restated Credit

Agreement as:
[T]his Agreement, the Notes, the Subsidiary Guaranties,
the Security Agreement, and all other instruments,
documents, certificates, agreements and writings
executed in connection herewith, and any amendments
thereto or restatements thereof.

(Defs.’ Ans. and Counterclaim, Ex. B at PT/SOO2451.)

Plaintiff contends that the August 3l, 2000, Commitment
Letter is not a “Credit Document” because it was executed two
months after the 2000 Credit Agreement and therefore was not
“executed in connection herewith” the documents enumerated in the
section because the phrase “in connection herewith” purportedly
means “at the same time” as the Agreement. However, the plain
language of the agreement does not limit “agreements and writings
in connection therewith” to any particular time frame.a
Moreover, as Defendants note, the other enumerated documents -

the Notes, the Subsidiary Guaranties, and the Security Agreement

- were not entered into at the same time as the Agreementr but

 

9 Plaintiff contends that the dictionary definition of

“herewith” is “along with this.” Even by that definition, no
time frame is specified.

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are still part of the definition of “Credit Documents.” The
plain language of the agreement therefore does not support
Plaintiff’s contention that the August 31, 2000, Commitment
Letter is not a “Credit Document” as defined in the Second
Amended and Restated Credit Agreement.

Plaintiff next contends that, even if the August 3l, 2000,
Commitment Letter was not superseded by the by the 2000 Credit
Agreement, Defendants are not entitled to indemnification under
the terms of the August 3l, 2000, Commitment Letter. However,
the plain terms of the letter require Plaintiff to indemnify
Defendant “for any losses, claims,r damages, liabilities or other

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expenses,’ including attorney's fees, that “arise out of or in
any way relate to or result from this Commitment Letter, the Fee
Letter or the financing contemplated hereby." (Pl.'s Third Am.
Compl., Ex. l at PT/8000209 (emphasis added).) ln the
“Allegations” section of Plaintiff’s Third Amended Complaint,
Plaintiff alleges that “[t]he August 31, 2000 Loan Commitment
Letter from the SunTrust Entities required P&T to hedge at least
50% of its total Syndicated Line of Credit ....” (Pl.'s Third Am.
Compl. l 59.) Further, under Count VIII of Plaintiff’s Third
Amended Complaint, Plaintiff alleges that “[tlhe SunTrust
Entities required P&T in its Loan Commitment Letter of August 31,

2000 that isic] half of the Syndicated Line of Credit be hedged,

regardless of the amount outstanding under such line of credit.

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This letter was being discussed and agreed upon while the 2000
Swap was entered into and was part of the understanding of P&T
when it entered into the 2000 Swap.” (Pl.'s Third Am. Compl. l
109.) Accordingly, based upon the plain language of the
agreement and the allegations in Plaintiff's Third Amended
Complaint, the Court finds that Plaintiff's suit is one that
“arise[s] out of or in any way relate[s] to or result[s] from
[thel Commitment Letter.”

Plaintiff next contends that, even if Defendants may assert
a right of indemnification pursuant to the August 31, 2000,
Commitment Letter, Defendants are only entitled to
indemnification for expenses related to Count VIII of its Third
Amended Complaint - Tying Under the Bank Holding Company Act -
because only that Count specifically mentions the August 31,
2000,r Commitment Letter. However, the factual allegation that
refers to the August 31, 2000, letter in Paragraph 59 of the
Third Amended Complaint is incorporated into all Counts of
Plaintiff's Third Amended Complaint. (See Pl.'s Third Am. Compl.
ll 7l, 75, 8l, 86, 90, 97, lOl, and l08.) Plaintiff therefore
incorporated the August 3l, 2000, letter into all counts of its
Third Amended Complaint. Accordingly, Plaintiff’s motion to
dismiss with respect to Defendants' Counterclaim for
indemnification pursuant to Paragraph F(l) of the August 31,

2000, Commitment Letter is DENIED.

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The Court further finds that no genuine issues of material
fact exist and that Defendants’ are entitled to judgment as a
matter of law regarding their Counterclaim for indemnification
pursuant to Paragraph F(l) of the August 31, 2000, Commitment
Letter. Under the plain terms of the agreement, and based upon
the allegations in Plaintiff’s Third Amended Complaint,
Plaintiff’s suit is one that “arise[s] out of or in any way
relate[s] to or result[s] from [the] Commitment Letter.” (See
Third Am. Compl. Ex. l at PT/5000209.) Defendants’ motion for
summary judgment is therefore GRANTED regarding its Counterclaim
for indemnification pursuant to the terms of the August 31, 2000,
Commitment Letter.
4. First Amended and Restated Revolving Credit Note
Defendants also claim a right to indemnification under the
First Amended and Restated Revolving Credit Note. The relevant
portion of that note provides that:
The Borrower agrees to pay, and save the Lender
harmless against any liability for the payment of, all
reasonable out-of-pocket costs and expenses, including
reasonable attorneys' fees actually incurred, arising
in connection with the enforcement by the Lender of any
of its rights under this Revolving Credit Note or the
Credit Agreement.
(Declaration of Bryan Ford, Ex. C at FWK 0110). Defendants
contend that the right to indemnification under the above

provision arises from Plaintiff’s allegations that Defendants

owed it a fiduciary duty, in violation of the asserted disclaimer

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of fiduciary duty contained in the Second Amended and Restated
Credit Agreement. As noted above, however, the plain language of
Section l4(j) of the Restated Security Agreement does not
foreclose Plaintiff from contending that the parties’ conduct
created a fiduciary relationship. Therefore, Defendants are not
entitled to indemnification under the First Amended and Restated
Revolving Credit Note. Accordingly, Plaintiff’s motion to
dismiss Defendants’ Counterclaim as it relates to the First
Amended and Restated Revolving Credit Notes is GRANTED.

C. Defendant Entities Entitled to Indemnification

Having granted summary judgment in favor of Defendants'
regarding their claim to a right of indemnification, the Court
next addresses which Defendant entities may seek to enforce the
relevant indemnification provisions. Plaintiff contends that
only the particular Defendant entities who are party to the
respective agreements under which the Court has found Defendants
entitled to a right of indemnification may be indemnified under
those agreements. Defendants contend that SunTrust Bank is
entitled to collect indemnification under all of the applicable
agreements.

The Court has found that Defendants are entitled to
indemnification pursuant to four provisions of the parties'
various agreements: (l) Section lO.4(iii) of the November l6,

1998 Restated Credit Agreement; (2) Section l0.4(iii) of the 2000

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Second Amended and Restated Credit Agreement; (3) Section l4(l)
of the November l6, 1998, Restated Security Agreement; and (4)
Paragraph F(l) of August 3l, 2000, Commitment Letter. The
November l6, 1998, Restated Credit Agreement was entered into
between Plaintiff and SunTrust Bank, Nashville, N.A.9 (Defs.'
Ans. and Counterclaim, Ex. A at FWK 01375.) The 2000 Second
Amended and Restated Credit Agreement was entered into by
Plaintiff and SunTrust Bank, Union Planters Bank National
Association, and First Tennessee Bank National Association. (ld.,
Ex. C at PT/8002438.) The November 16, 1998, Restated Security
Agreement was entered into between Plaintiff and SunTrust Bank,
Nashville, N.A. “as Agent for itself and any other lenders now or
hereafter parties to that certain Restated Credit Agreement
between Borrower, Agent and the Lenders, dated as of November l6,
1998 ....” (Id., Ex. B at ST 3213.) The August 31, 2000,
Commitment Letter was entered into between Plaintiff and SunTrust
Bank and SunTrust Equitable Securities. (Pl.’s Third Am. Compl.,
Ex. I at PT/3000207.)

Each Count of Plaintiff's Third Amended Complaint asserts a

claim against the “SunTrust Entities” or “Defendant Entities”

 

9 lt is undisputed that, on January l, 2000, SunTrust Bank -
Atlanta and SunTrust Bank - Nashville merged into SunTrust Bank.
(See Defs.’ Mem. in Opp. to Mot. to Dismiss Counterclaim at 3;
Pl.’s Third Am. Compl. l 3(“upon information and belief, SunTrust
Bank is a successor by merger to SunTrust Bank - Atlanta and
SunTrust Bank Nashville, N.A. ....”).)

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(See Pl.’s Third Am. Compl. ll 73, 77, 83, 87, 91, 98, 102, 109.)
Plaintiff defines the “SunTrust Entities” as all of the
Defendants in this case. (See Pl.'s Third Am. Compl. at l.)
Accordingly, Plaintiff asserts all of its claims in this case
against all Defendants. Moreover, Plaintiff points to no
provision of any of the agreements that allow for indemnification
that limits that indemnification to claims only against the
indemnitee. Rather, the Court finds that the plain language of
the relevant indemnification agreements is broad enough to
encompass all of Plaintiff’s claims in this case, which are all
asserted collectively against all Defendants.

The Court therefore finds that each of the respective
Defendant entities who were party to the agreements under which
the Court has found indemnification appropriate are entitled,
under each of the relevant provisions, to be indemnified for
Defendants total reasonable costs and attorney's fees in
defending Plaintiff’s suit. The collective Defendant entities
may not, however, collect more than the actual reasonable costs
and fees spent in defense of this litigation. Accordingly, the
Court will allow Defendants a single recovery of their total
reasonable costs and fees in defending Plaintiff's suit.

Defendants shall file with the Court and serve upon
Plaintiff proof of their reasonable costs and attorney's fees in

defending Plaintiff's suit within 15 days from the entry of this

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order. Any objection to Defendants' asserted reasonable costs
and attorney’s fees shall be filed within 15 days of the receipt
of that filing.

IV. CONCLUSION

For the foregoing reasons, Plaintiff’s Motion to Dismiss
Defendants’ Counterclaim for indemnification is GRANTED in part
and DENIED in part, and Defendants' Motion for Summary Judgment
with respect to Defendants' Counterclaim for indemnification is

GRANTED.
so oRDERED this 'O day of May, 2005.

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`i§?j P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 325 in
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Honorable lon McCalla
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